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17
                                UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                     SAN FRANCISCO DIVISION
20
      IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
21    ANTITRUST LITIGATION
                                                        DEFENDANTS’ NOTICE OF FILING
22    THIS DOCUMENT RELATES TO:
23
      Epic Games Inc. v. Google LLC et al., Case
24    No. 3:20-cv-05671-JD

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                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
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 1            On August 14, 2024, the Court held oral argument regarding remedies. See Dkt. No. 1001.

 2 The demonstratives that Google submitted to the Court at the August 14, 2024 hearing are

 3 attached to this Notice as Exhibit A to the Beck Declaration.

 4

 5    DATED: August 19, 2024                     Respectfully submitted,
 6
                                                 By:            /s/ Jonathan I. Kravis
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 1                                      E-FILING ATTESTATION

 2            I, Jonathan I. Kravis, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that counsel for

 4 Defendants have concurred in this filing.

 5

 6                                                             /s/ Jonathan I. Kravis               .
 7                                                           Jonathan I. Kravis

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